Case 3:17-cv-00072-NKM-JCH Document 898 Filed 10/27/20 Page 1 of 8 Pageid#: 15316




                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUÑIZ,
   MARCUS MARTIN, NATALIE ROMERO,
   CHELSEA ALVARADO, JOHN DOE, and
   THOMAS BAKER,

                                 Plaintiffs,           Civil Action No. 3:17-cv-00072-NKM

   v.                                                       JURY TRIAL DEMANDED

   JASON KESSLER, et al.,

                                 Defendants.


                  PLAINTIFFS’ MOTION FOR MONETARY SANCTIONS
                       AGAINST ROBERT “AZZMADOR” RAY

         Plaintiffs bring this motion for monetary sanctions pursuant to Rule 37 of the Federal Rules

  of Civil Procedure to request their reasonable fees and expenses caused by Defendant Robert

  “Azzmador” Ray’s failure to attend his depositions on July 29, 2020, and September 14, 2020, as

  well as their reasonable fees and expenses incurred in preparing for and attending Ray’s civil

  contempt hearing on September 14, 2020.

                                          BACKGROUND

         As the Court knows, on July 13, 2020, Ray failed to attend his properly noticed deposition.

  See ECF No. 814 at 1; ECF No. 848 at 1; ECF No. 877 at 2 ¶ 3. Plaintiffs accordingly moved the

  Court to compel Ray to appear for his deposition; to issue a bench warrant for Ray’s arrest and

  hold him in custody until his deposition could take place; and to order Ray to pay Plaintiffs’

  reasonable expenses incurred in arranging Ray’s deposition and in bringing Plaintiffs’ motion,

  including reasonable attorneys’ fees and costs. See ECF No. 803 at 5.
Case 3:17-cv-00072-NKM-JCH Document 898 Filed 10/27/20 Page 2 of 8 Pageid#: 15317




         On July 23, 2020, the Court granted “Plaintiffs’ requests to be reimbursed for their

  reasonable fees and expenses caused by Ray’s failure to attend the July 13 deposition.” ECF No.

  814 at 1; see ECF No. 848 at 1. The Court also ordered Ray to appear for a rescheduled deposition

  on July 29, 2020. See ECF No. 814 at 1. Plaintiffs then expended additional time and resources

  preparing for Ray’s rescheduled deposition.

         On July 29, 2020, Ray failed to appear for his deposition a second time. See ECF No. 848

  at 1; ECF No. 877 at 3 ¶ 8. On August 27, 2020, after Plaintiffs brought Ray’s failure to the Court’s

  attention, the Court ordered Ray to appear at a civil contempt hearing and to sit for his deposition

  on September 14, 2020. See ECF No. 848 at 3 ¶¶ 4–5; ECF No. 877 at 3–4 ¶¶ 11–12. Plaintiffs

  again expended time and resources preparing for Ray’s deposition, now rescheduled for a second

  time, as well as in preparing for the civil contempt hearing that was held solely because Ray refused

  to participate in the discovery process in good faith.

         On September 14, 2020, Ray failed to appear for his deposition for a third time and failed

  to appear for the civil contempt hearing, at which Plaintiffs appeared and participated. See ECF

  No. 877 at 4 ¶¶ 14–15. On September 16, 2020, the Court found Ray to be in civil contempt and

  ordered that a bench warrant be issued for Ray’s arrest. See ECF No. 877 at 8–9.

                                        LEGAL STANDARDS

         The Court has wide discretion under both Rule 37 and its inherent authority to impose

  sanctions when a party fails to respond to discovery requests or to comply with discovery ordered

  by the court, including failing to participate in a deposition. See Fed. R. Civ. P. 37; Projects Mgmt.

  Co. v. Dyncorp Int’l LLC, 734 F.3d 366, 375 (4th Cir. 2013); Mut. Fed. Sav. & Loan v. Richards

  & Ass’n, 872 F.2d 88, 94 (4th Cir. 1989); Sampson v. City of Cambridge, 251 F.R.D. 172, 178–79

  (D. Md. 2008). In addition, Rule 37 specifically provides that the Court “may, on motion, order




                                                    2
Case 3:17-cv-00072-NKM-JCH Document 898 Filed 10/27/20 Page 3 of 8 Pageid#: 15318




  sanctions if . . . a party . . . fails, after being served with proper notice, to appear for that person's

  deposition.” Fed. R. Civ. P. 37(d)(1)(A)(i). Rule 37 further states that “the court must require the

  party failing to act, the attorney advising that party, or both to pay the reasonable expenses,

  including attorney’s fees, caused by the failure, unless the failure was substantially justified or

  other circumstances make an award of expenses unjust.” Fed. R. Civ. P. 37(d)(3).

                                              ARGUMENT

          Ray’s contumacious behavior in this case, which the Court has found has repeatedly

  prejudiced and harmed Plaintiffs, merits the imposition of sanctions. As the Court has recognized,

  “Plaintiffs are entitled to conduct a deposition upon oral examination of Ray, and to get truthful

  and fulsome responses as part of discovery in this case, and to do so without needless expense or

  burden imposed on account of Ray’s failure to appear at a scheduled deposition.” ECF No. 877 at

  6 ¶ 26; see Diamond, 2010 WL 11549876, at *2 (“Mr. Diamond’s attendance at the March 1, 2010

  deposition was mandatory under Fed. R. Civ. P. 30(a)(1) . . . .”). But, as the Court has found, “Ray

  did not attend properly noticed depositions upon oral examination by Plaintiffs’ counsel, and

  indeed he still has failed to attend his deposition.” ECF No. 877 at 7 ¶ 27.

          Accordingly, Plaintiffs have been not only been prejudiced by the severe evidentiary gap

  left by Ray’s misconduct,1 but also have been repeatedly forced to waste precious time and

  resources only to have Ray flout his obligations to Plaintiffs and the Court time and again. Indeed,

  as the Court has found:

                  Plaintiffs have suffered and continue to suffer harm as a result of
                  Ray’s continued violation of these Orders. Plaintiffs’ counsel have
                  diligently tried to schedule Ray’s deposition since May and they
                  have appeared at, and made all necessary arrangements for, no
                  less than three properly-noticed depositions for Ray at


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           This evidentiary gap is the subject of a separate motion for evidentiary sanctions that is
  currently pending against Ray. See ECF No. 750.


                                                      3
Case 3:17-cv-00072-NKM-JCH Document 898 Filed 10/27/20 Page 4 of 8 Pageid#: 15319




                 considerable expense and effort—well beyond that which is
                 expected of a party to secure a deposition. Ray’s failure to appear
                 at these depositions has unacceptably forestalled Plaintiffs’ ability
                 to get discovery to which they are entitled, and, as a result, stymied
                 Plaintiffs’ development of their case.

  Id. at 7 ¶ 29 (emphasis added).

         The imposition of sanctions in the amount of Plaintiffs’ reasonable fees and expenses is

  proper in such circumstances. See, e.g. Fed. R. Civ. P. 37(d)(1)(A)(i) (“The court where the action

  is pending may, on motion, order sanctions if . . . a party . . . fails, after being served with proper

  notice, to appear for that person's deposition . . . .”); Fed. R. Civ. P. 37(d)(3) (“[T]he court must

  require the party failing to act, the attorney advising that party, or both to pay the reasonable

  expenses, including attorney's fees, caused by the failure . . . .”); Diamond, 2010 WL 11549876,

  at *3–4. In addition, this is not a case where Ray’s “failure was substantially justified or other

  circumstances make an award of expenses unjust.” Fed. R. Civ. P. 37(d)(3). To the contrary,

  despite Plaintiffs’ and the Court’s numerous attempts to contact Ray regarding his deposition, and

  despite the Court now holding Ray in contempt and ordering that a bench warrant be issued for his

  arrest, Ray still has failed to respond to or even acknowledge Plaintiffs’ communications. See ECF

  No. 877 at 2 ¶ 4, 3 ¶ 9, 4 ¶¶ 13–17.

         For the foregoing reasons, Plaintiffs respectfully request that the Court grant Plaintiffs

  monetary sanctions pursuant to Rule 37 in the amount of their reasonable fees and expenses caused

  by Ray’s failure to attend his depositions on July 29, 2020, and September 14, 2020, as well as

  their reasonable fees and expenses incurred in preparing for and attending Ray’s civil contempt

  hearing on September 14, 2020.




                                                    4
Case 3:17-cv-00072-NKM-JCH Document 898 Filed 10/27/20 Page 5 of 8 Pageid#: 15320




   Dated: October 27, 2020                  Respectfully submitted,

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                                        5
Case 3:17-cv-00072-NKM-JCH Document 898 Filed 10/27/20 Page 6 of 8 Pageid#: 15321




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                                        6
Case 3:17-cv-00072-NKM-JCH Document 898 Filed 10/27/20 Page 7 of 8 Pageid#: 15322




                                    CERTIFICATE OF SERVICE

         I hereby certify that on October 27, 2020, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

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  participants, via electronic mail, as follows:

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Case 3:17-cv-00072-NKM-JCH Document 898 Filed 10/27/20 Page 8 of 8 Pageid#: 15323




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